Case 23-40612-BSK         Doc 27   Filed 10/17/23 Entered 10/17/23 13:48:38              Desc Main
                                  Document      Page 1 of 1 COURT
                          IN THE UNITED STATES BANKRUPTCY
                                FOR THE DISTRICT OF NEBRASKA

IN THE MATTER OF:                                      ) BK. NO. 23-40612-BSK
                                                       )
WILLIAM D TRAPP                                        ) CHAPTER 13
                               SSN: ###-##-6585        )
CAROL A TRAPP                                          )
                               SSN: ###-##-6086        )
                                                       )
Debtors.

                             TRUSTEE'S NOTICE OF AMENDED PLAN

TO:      WILLIAM D TRAPP                                      CAROL A TRAPP

Erin M. McCartney, Chapter 13 Trustee, has received an amended Chapter 13 plan dated 10/04/2023 for
your case.

      The amended plan requires the Debtor to make payments to the Trustee in the amount of
      $1,065.00 per month.

      The Debtor's next payment is due October 2023.

Payments must be made on or before the due date or the Trustee may move to dismiss the case.

The Bankruptcy Court will send an Order which requires the debtor or debtor's employer to make the
payments set forth in the amended plan.

           DATED: October 17, 2023

                                                              s/ Erin M. McCartney
                                                              Erin M. McCartney #23663
                                                              Chapter 13 Trustee
                                                              13930 Gold Circle, Suite #201
                                                              Omaha, NE 68144
                                                              (402) 697-0437
                                                              1-800-884-0437

                                     CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the Trustee's Notice was served on
JOHN D ROUSE, debtors attorney, via the CM/ECF system of the United States Bankruptcy Court and a
copy was mailed on October 17, 2023, by first-class, U.S. mail, postage prepaid to the Debtors at the
addresses listed below:

WILLIAM D TRAPP                                    CAROL A TRAPP
7010 SHAMROCK RD.                                  7010 SHAMROCK RD.
LINCOLN, NE 68506                                  LINCOLN, NE 68506

                                                              s/ Erin M. McCartney
                                                              Erin M. McCartney

JOHN D ROUSE
Attorney at Law
1023 LINCOLN MALL #101
LINCOLN, NE 68508
